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11 Counsel for Defendant Julian Omidi
12                              UNITED STATES DISTRICT COURT
13                             CENTRAL DISTRICT OF CALIFORNIA

14 United States of America,                          CR No. 17-00661 (A) – DMG
15                Plaintiff,                          DEFENDANT JULIAN OMIDI’S
                                                      TRIAL MEMORANDUM
16           v.                                       CONCERNING IMPROPER
                                                      SUMMATION
17 Julian Omidi, et al.,
18                Defendants.                         [No Hearing Set]
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          DEFENDANT JULIAN OMIDI’S TRIAL MEMORANDUM CONCERNING IMPROPER SUMMATION
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            I.    THE COURT SHOULD INSTRUCT THE JURY THAT THE
 2                PROSECUTION IMPROPERLY DESCRIBED MR. KLASKY’S
 3                TESTIMONY IN ITS SUMMATION.

 4                On Friday, the government invented testimony and thereby falsely injected
 5 non-existent evidence into the record. Specifically, the government claimed, improperly,
 6 that Mr. Klasky offered testimony which was never elicited when the AUSA stated: “So
 7 you remember Mr. Klasky telling you about how he confessed to the fraud to Mr.
 8 Twersky in mid-February of 2012, told Julian Omidi that. Julian Omidi got mad.” (Tr.
 9 8658:14-16). Mr. Klasky offered no such testimony at any point during the trial. In fact
10 Mr. Klasky testified to the opposite, denying that he told Mr. Omidi that he had informed
11 Larry Twersky about his falsification of sleep reports. (Tr. 4797:21-25 “Q. And, Mr.
12 Klasky, did you tell Julian Omidi that you had told Larry Twersky about the falsification
13 of the sleep study reports? A. I did not directly, no.”). The harm to Mr. Omidi from the
14 invention of incriminating testimony from the key cooperating witness is extreme, and the
15 Court has already admonished the government for displaying evidence that was never
16 offered or admitted at trial. The Court should instruct the jury that the prosecution
17 improperly described testimony from Mr. Klasky in its summation that Mr. Klasky never
18 gave and tell the jury to disregard these arguments. The Court should also sanction the
19 government at this point by striking its rebuttal summation.
20
            II.   THE COURT SHOULD INSTRUCT THE GOVERNMENT THAT IT
21                IS PROHIBITED FROM RAISING NEW ARGUMENTS DURING
22                REBUTTAL SUMMATION.

23                It is well established that “a prosecutor cannot use rebuttal to put forth new
24 arguments, but is restricted to responding to the points made by the defense counsel in
25 closing argument.” United States v. Maloney, 699 F.3d 1130, 1140 (9th Cir.
26 2012), reversed on reh’g en banc, 755 F.3d 1044, 1046 n. 2 (9th Cir. 2014) (“the trial
27 prosecutor admitted at oral argument . . . that he ‘sandbagg[ed]’ the defense by waiting
28 for rebuttal to bring up the luggage argument, but he did not seem to appreciate that this
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          DEFENDANT JULIAN OMIDI’S TRIAL MEMORANDUM CONCERNING IMPROPER SUMMATION
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 1 conduct could be deemed improper”); see also United States v. Taylor, 728 F.2d 930, 936
 2 (7th Cir. 1984) (same) (collecting cases); Moore v. United States, 344 F.2d 558, 560 (D.C.
 3 Cir. 1965) (same); United States v. Gleason, 616 F.2d 2, 26 (2d Cir. 1979) (finding new
 4 argument in rebuttal summation improper, even where the argument was “based entirely
 5 on exhibits already in evidence”). This limitation on the scope of rebuttal is supported by
 6 the legislative history of Rule 29.1 of the Federal Rules of Criminal Procedure.
 7 Specifically, in its notes on proposed rule 29.1, the House Judiciary Committee stated:
 8                 The rule is drafted in the view that fair and effective
                   administration of justice is best served if the defendant knows the
 9
                   arguments actually made by the prosecution [o]n behalf of
10                 conviction before the defendant is faced with the decision
11                 whether to reply and what to reply.

12 H.R. Rep. No. 94-247, 94th Cong., 1st Sess. 17 (1975). Because new arguments during
13 rebuttal summation, made after a defendant’s last opportunity to reply, undermine the
14 fairness of the trial, they should be prohibited by the Court. To the extent that any such
15 arguments are made by the government here, the Court should permit surrebuttal by the
16 defense. See Maloney, 755 F.3d at 1045-46 (reversing conviction on the basis of improper
17 rebuttal and error in refusing surrebuttal by the defense, and observing “for the first time
18 in rebuttal during closing argument, the prosecutor argued that Maloney must have lied
19 about the details of his trip because he had no luggage with him when he was
20 apprehended, a fact from which the jury could infer knowledge. Maloney’s counsel
21 moved for surrebuttal to counter this new argument; the trial court denied the motion.
22 Maloney’s counsel made a second motion for surrebuttal, which was also denied.”)
23 (emphasis added).
24
            III.   THE COURT SHOULD INSTRUCT THE GOVERNMENT TO
25                 DISCLOSE THE POWERPOINT SLIDES IT DISPLAYED TO THE
26                 JURY DURING SUMMATION.

27          The defense is perplexed that the government has refused to turn over the
28 Powerpoint slides it has now displayed to the jury during its summation. Those slides,
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 1 which were unquestionably part of the government’s argument to the jury, were part of
 2 the record even before the prosecution engaged in the improper display of material not
 3 admitted at trial. They are now doubly significant, as they relate to confessed error on the
 4 part of the government, and they should be immediately filed as part of the record.
 5 Regardless of the government’s error, the defense is entitled to respond to the slides and
 6 entitled to reference them in our responsive arguments to the jury – it is clear error for the
 7 government to hide its summation slides, which would be discoverable even in simple a
 8 FOIA request from any media organization, from the defense as it prepares for responsive
 9 summation. The entire point of Ninth Circuit sitting en banc in Maloney was that the
10 defense must be given an opportunity to respond to every aspect of the prosecution’s
11 arguments in the principal summations, and this principle cannot be undermined for the
12 sake of the prosecution’s search for strategic advantage. See Maloney, 755 F.3d at 1046
13 (“prosecutor is the representative not of an ordinary party to a controversy, but of a
14 sovereignty whose obligation to govern impartially is as compelling as its obligation to
15 govern at all; and whose interest, therefore, in a criminal prosecution is not that it shall
16 win a case, but that justice shall be done.”) (quoting Berger v. United States, 295 U.S. 78,
17 88 (1935) (internal quotation marks omitted)).
18          No part of these bedrock principles of our justice system can be squared with the
19 prosecution’s refusal to allow the defense access to the very visual aids it used to present
20 its argument to the jury. The Court should order the government to disclose what it has
21 already displayed to the jury immediately.
22          IV.   CONCLUSION
23          We respectfully request that the Court instruct (1) instruct the jury that the
24 government inaccurately described Mr. Klasky’s testimony in its summation; (2) instruct
25 the government that it is restricted to responding to the points made by the defense
26 counsel in closing argument in its rebuttal summation; and (3) instruct the government to
27 disclose the slides used in its principal summation immediately.
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          DEFENDANT JULIAN OMIDI’S TRIAL MEMORANDUM CONCERNING IMPROPER SUMMATION
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1 Dated: December 12, 2021                Respectfully submitted,
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          DEFENDANT JULIAN OMIDI’S TRIAL MEMORANDUM CONCERNING IMPROPER SUMMATION
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